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 8                           UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              April 2021 Grand Jury

11   UNITED STATES OF AMERICA,                 ED CR No.5:22-CR-00075-AB

12             Plaintiff,                      I N D I C T M E N T

13                 v.                          [18 U.S.C. §§ 2252A(a)(5)(B),
                                               (b)(2): Possession of Child
14   MARC GREGORY GOODWIN,                     Pornography; 18 U.S.C. § 2253:
       aka “loweredforlife,”                   Criminal Forfeiture]
15
               Defendant.
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19        The Grand Jury charges:
20                                     COUNT ONE
21                      [18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]
22        On or about June 17, 2021, in San Bernardino County, within the
23   Central District of California, and elsewhere, defendant MARC GREGORY
24   GOODWIN, also known as “loweredforlife,” knowingly possessed a Yahoo
25   email account, namely, “loweredforlife@yahoo.com,” that contained at
26   least one image of child pornography, as defined in Title 18, United
27   States Code, Section 2256(8)(A), involving a prepubescent minor and a
28   minor who had not attained 12 years of age, that had been mailed, and
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 1   shipped and transported using any means and facility of interstate

 2   and foreign commerce and in and affecting interstate and foreign

 3   commerce by any means, including by computer, and that had been

 4   produced using materials that had been mailed, and shipped and

 5   transported in and affecting interstate and foreign commerce by any

 6   means, including by computer, knowing that the images and videos were

 7   child pornography.

 8        The child pornography that defendant GOODWIN possessed on his

 9   Yahoo account included, but was not limited to, the following images

10   and video:

11        (1)     An image titled “kbaby-set12-6431.jpg”;

12        (2)     An image titled “IMG_3160.jpg”; and

13        (3)     A video titled “_o_lol_cat__cum.wmv.”

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 1                                     COUNT TWO

 2                     [18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]

 3        On or about June 24, 2021, in San Bernardino County, within the

 4   Central District of California, defendant MARC GREGORY GOODWIN, also

 5   known as “loweredforlife,” knowingly possessed a Cruzer 32GB flash

 6   drive that contained at least one image of child pornography, as

 7   defined in Title 18, United States Code, Section 2256(8)(A),

 8   involving a prepubescent minor and a minor who had not attained 12

 9   years of age, that had been mailed, and shipped and transported using

10   any means and facility of interstate and foreign commerce and in and

11   affecting interstate and foreign commerce by any means, including by

12   computer, and that had been produced using materials that had been

13   mailed, and shipped and transported in and affecting interstate and

14   foreign commerce by any means, including by computer, knowing that

15   the images and videos were child pornography.

16        The child pornography that defendant GOODWIN possessed on his

17   Cruzer 32GB flash drive included, but was not limited to, the

18   following images and videos:

19        (1)   A video titled “80VIDEI 036.wmv”;

20        (2)   A video titled “Minet Anya_NEW.avi”;

21        (3)   A video titled “minisuck1. 3gp”;

22        (4)   An image titled “36.lickbigdick.jpg”; and

23        (5)   An image titled “03.touch.jpg”;

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 1                              FORFEITURE ALLEGATION

 2                                [18 U.S.C. § 2253]

 3        1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 2253, in the event of the defendant’s

 7   conviction of the offenses set forth in any of Counts One and Two of

 8   this Indictment.

 9        2.   The defendant, if so convicted, shall forfeit to the United

10   States of America the following property:

11             (a)   All right, title, and interest in any visual depiction

12   involved in any such offense, or any book, magazine, periodical, film

13   videotape, or other matter which contains any such visual depiction,

14   which was produced, transported, mailed, shipped or received and

15   involved in any such offense;

16             (b)   All right, title, and interest in any property, real

17   or personal, constituting or traceable to gross profits or other

18   proceeds obtained from such offense;

19             (c)   All right, title, and interest in any property, real

20   or personal, used or intended to be used to commit or to promote the

21   commission of such offense or any property traceable to such

22   property; and

23             (d)   To the extent such property is not available for

24   forfeiture, a sum of money equal to the total value of the property

25   described in subparagraphs (a), (b), and (c).

26        3.   Pursuant to Title 21, United States Code, Section 853(p),

27   as incorporated by Title 18, United States Code, Section 2253(b), the

28   defendant, if so convicted, shall forfeit substitute property, up to

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